      Case 3:10-cr-00222-RNC       Document 851      Filed 11/04/24   Page 1 of 11


UNDER GOD,

                               CASE# _3:1 0-cr-00222 __


                        DEFAULT WRIT OF FORFEITURE

        BY WE THE PEOPLE OF THE UNITED STATES OF AMERICA


To: Robert N. Chatigny,

Acting without lawful authority in the capacity of an official of the United States

Government.


In the Name of We the People of the United States of America, this Default Writ of

Forfeiture is issued against you, Robert N. Chatigny, for your failure to provide

proof of lawful authority to hold public office within the stipulated time, as ordered by

the Writ of Scire Facias, dated October 21, 2024.


WHEREAS, you have not submitted the required documents-namely:


   1. A valid commission of office,

   2. A legally binding oath of office, as mandated by both state and federal law,

   3. Proof of a fiduciary bond to ensure the lawful discharge of duties;

THEREFORE, by default and in accordance with the authority vested in this

writ, it is hereby declared:


Forfeiture Orders and Nullification



                                                                                        1
                       DEFAULT WRIT OF SCIRE FASCIAS
     Case 3:10-cr-00222-RNC      Document 851      Filed 11/04/24    Page 2 of 11


UNDER GOD,

                             GASE#_3 :1 0-cr-00222 __



   1. Forfeiture of Office: You are immediately stripped of any claim to the
      office and all associated authority, rights, and privileges.

   2. Nullification of Actions: All actions, decisions, and official duties
      undertaken by you under the assumed office are declared null and void,
      without any legal standing or effect.

   3. Cease and Desist: You are ordered to cease and desist all activities under
      the office title immediately.

Additional Orders


   1. The Clerk of Courts is hereby instructed to dismiss and settle the
      indictment in Case #3:10-cr-00222.

   2. You are ordered to cease and desist from all collection activities related to
      this matter.

   3. You are ordered to report the dismissal of Case #3:10-cr-00222 to the IRS
      immediately upon action.

   4. Failure to dismiss the case within 24 hours of receipt will subject all parties
      to additional fees as detailed in the attached fee schedule.

   5. You are hereby ordered to deliver all Bonds, Securities, and/or other
      financial instruments related to the case to counter claimants/defendants.

Violations and Misconduct in Office


                                                                                      2
                     DEFAULT WRIT OF SCIRE FASCIAS
     Case 3:10-cr-00222-RNC     Document 851      Filed 11/04/24   Page 3 of 11


UNDER GOD,

                            CASE#_3:1 0-cr-00222 __



Your conduct constitutes multiple violations and misappropriations of federal

and state law, including but not limited to:


   1. Violation of the Oath of Office: By failing to affirm or uphold the
      Constitution as required by Article VI, Section 3 of the United States
      Constitution, you have violated your commitment to support the
      constitutional form of government and operate outside its laws.

   2. False Pretending to be an Official: Under federal law, your actions
      represent a fraudulent assumption of office without lawful authorization,
      which constitutes False Pretenses and misrepresentation of official
      authority.

   3. Misappropriation of Public Funds: Any funds utilized under this office
      title without lawful authority are deemed misappropriated, subject to
      investigation, and potential restitution.

   4. Violation of the Supremacy Clause (Article VI, Section 2): Acting without
      legitimate authority undermines the lawful structure of government and
      contravenes the supremacy of the Constitution, in direct conflict with the
      Constitution's Supremacy Clause.

   5. Treason (Article III, Section 3 of the United States Constitution): Any
      actions undertaken that actively betray the lawful government by usurping
      authority constitute grounds for investigation under Article III, Section 3,
      defining treason as acts against the United States.

                                                                                     3
                     DEFAULT WRIT OF SCIRE FASCIAS
       Case 3:10-cr-00222-RNC      Document 851   Filed 11/04/24     Page 4 of 11


UNDER GOD,

                                CASE#_3:1 0-cr-00222 __



   6. Contravention of the Articles of Confederation: Your unauthorized actions
        also infringe upon the foundational principles established within the
        Articles of Confederation, which set forth an agreement to uphold a
        cooperative form of government under duly established authority.

Additional Remedies and Compensatory Damages


You are hereby subject to:


   •    Claims for compensatory damages due to harm inflicted upon individuals
       or the public by unauthorized acts,

   •   Further disciplinary measures, civil, or criminal liability in alignment with
       state and federal law.

ORDERED AND EXECUTED on this day, [insert date], under the Seal of We the

People of the State of Connecticut.


                                      We the People of the United States of Amer~~
                                                  ~<2 '.    .Y~~(+v--- J7(_
                                                      Robert Henry Ri~rnider, Jr.

                                                                c/o 14 S Bobwhite Rd

                                                           Wildwood, Florida [34785]

                                                                   bobriver@icloud.com




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                      DEFAULT WRIT OF SCIRE FASCIAS
       Case 3:10-cr-00222-RNC         Document 851     Filed 11/04/24         Page 5 of 11


UNDER GOD,

                                  CASE#_3:1 0-cr-00222 __



STATE OF FLORIDA,
COUNTY OF SUMTER, ss:

The foregoing instrument was acknowledged before me, by means of ~hysical presence or D
                              1 day of Qoh9\).{.%
online notarization, this '2>r'                              , W];lj by ROBERT HENRY
RIVERNIDER JR, who is personally known to me or who has produced
___Yv
   ~~D~V
       ~------- as identification.




                                            Name typed, printed, or stamped


                                                                 ELIZABETH BAYBUSKY
                                                               MY COMMISSION# HH 443871
                                                               EXPIRES: September 13, 2027




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                          DEFAULT WRIT OF SCIRE FASCIAS
      Case 3:10-cr-00222-RNC            Document 851         Filed 11/04/24       Page 6 of 11


UNDER GOD,

                                     CASE#_ 3 :1 0-cr-00222



                     MEMORANDUM OF POINTS AND AUTHORITIES

                    IN SUPPORT OF DEFAULT WRIT OF FORFEITURE

I. INTRODUCTION

This Memorandum of Points and Authorities is submitted in support of the Default Writ of

Forfeiture issued by We the People of the United State of America against Robert N. Chatigny.

This writ addresses the Defendant's failure to provide proof of lawful authority to hold office and

outlines statutory, constitutional, and historical grounds for the forfeiture of office, nullification

of actions, and additional orders.

II. STATEMENT OF FACTS


    1. Issuance of Writ of Scire Facias: On October 21, 2024, a Writ of Scire Facias was

        issued to Robert N. Chatigny, demanding proof of lawful authority, including a valid

        commission, an oath of office, and a fiduciary bond.

   2. Failure to Comply: Defendant has·failed to produce the required documentation within

       the stipulated period, thereby demonstrating lack of legal authority to occupy or execute

        the functions of the office.

   3. Default Writ of Forfeiture Issued: Consequently, a Default Writ of Forfeiture has been

        issued, declaring forfeiture of office, nullification of actions, and additional orders.

III. POINTS AND AUTHORITIES

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                     MEMO DEFAULT WRIT OF SCIRE FASCIAS
     Case 3:10-cr-00222-RNC          Document 851        Filed 11/04/24      Page 7 of 11


UNDER GOD,

                                CASE#_ 3 :1 0-cr-00222



A. Constitutional Requirements for Public Office

   1. U.S. Constitution, Article VI, Clause 3

      The U.S. Constitution mandates that all public officials take an oath to support the

      Constitution. Failure to take and uphold this oath invalidates any legal authority claimed

      by the Defendant, as acting without this constitutional requirement violates the form of

      lawful governance intended by the Constitution.

   2. Violation of Supremacy Clause (Article VI, Section 2)

      By assuming office without proper authorization, the Defendant has violated the

      Supremacy Clause, which establishes the Constitution and federal laws as the supreme

      law of the land. Actions taken without legitimate authority undermine the supremacy of

      the Constitution, rendering such actions null and void.

   3. Treason under Article III, Section 3

      The Constitution defines treason as actions betraying the United States, including

      unauthorized assumption of public office to usurp lawful government functions. The

      Defendant's assumption of office without lawful authority constitutes a direct affront to

      constitutional governance, falling within grounds for potential treason under Article III,

      Section 3.

B. Violations of State and Federal Statutes

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                   MEMO DEFAULT WRIT OF SCIRE FASCIAS
     Case 3:10-cr-00222-RNC          Document 851         Filed 11/04/24      Page 8 of 11


UNDER GOD,

                                  CASE#_3 :1 0-cr-00222



   1. False Pretending to be an Official

      Federal and state statutes criminalize the assumption of official roles without proper

      authority. By continuing to act under a title without lawful authority, the Defendant has

      misrepresented their position, constituting a violation of statutes against false

      representation and impersonation of an official.

   2. Misappropriation of Public Funds

      Use of public funds without valid authority constitutes misappropriation. The

      Defendant's occupancy of office without a lawful commission or bond to protect public

      interest in office duties effectively misappropriates resources and trust allocated for

      legitimate officeholders.

C. Historical Violations and the Articles of Confederation

   1. Violation of Articles of Confederation

      Though superseded by the Constitution, the Articles of Confederation underscored the

      principles of cooperative governance and the rule of law. The Defendant's assumption of

      authority without a lawful basis infringes on these founding principles, reinforcing the

      position that only duly authorized officials may wield governmental power.

D. Legal Precedents for Forfeiture of Office




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                  MEMO DEFAULT WRIT OF SCIRE FASCIAS
      Case 3:10-cr-00222-RNC           Document 851        Filed 11/04/24      Page 9 of 11


UNDER GOD,

                                  CASE#_3 :1 0-cr-00222


    1. Forfeiture of Office Due to Lack of Qualifications

        Courts have long upheld that individuals lacking lawful qualifications for office cannot

        exercise its powers. Legal precedent supports immediate forfeiture of office for those

        who fail to provide documentation establishing their right to occupy the position, as seen

        in Marbury v. Madison, where legal appointment is necessary to assume public duties.


E. Demand for Dismissal of Case and Additional Orders

    1. Dismissal of Case and Reporting to IRS

       The Default Writ instructs the Clerk of Courts to dismiss Case #3: 1 0-cr-00222 and

       requires notification to the IRS. This demand is consistent with ensuring that all actions

       taken by the Defendant under false authority are fully retracted, preventing further legal

       or financial consequences.


    2. Penalty for Non-Compliance

       Failure to comply with the dismissal order within 24 hours subjects all parties to

       penalties, reinforcing the need for immediate compliance to restore lawful governance.


IV. CONCLUSION


For the reasons stated, We the People of the United States of America respectfully submit that the

Default Writ of Forfeiture is legally sound, justified by the U.S. Constitution, state and federal

statutes, and historical foundations of governance. The forfeiture of office, nullification of

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                    MEMO DEFAULT WRIT OF SCIRE FASCIAS
       Case 3:10-cr-00222-RNC          Document 851       Filed 11/04/24     Page 10 of 11


UNDER GOD,

                                   CASE#_ 3 :1 0-cr-00222



actions, and additional orders outlined in the writ are appropriate and necessary to uphold

constitutional and legal standards.


                                                                          Respectfully submitted,

                                                  We the People of the United States of America



                                                                  Y>J e ·."BJJ: fl-~ RrR-
                                                                       Robert Henry Ri~der, Jr.
                                                                             c/o 14 S Bobwhite Rd
                                                                        Wildwood, Florida [34785]
                                                                             bobriver@icloud.com
                                                                           Date: October 31, 2024




CC: 1. Connecticut Federal Grand Jury
       450 Main St., Hartford, CT 06103

  2.    United States House of Representatives
        Speaker Michael Johnson
        568 Cannon House Office Building
        Washington, DC 205 l 5

  3.    US House Judiciary Committee Chairman Jim Jordan
        2138 Rayburn House Building Washington, DC 20515

  4.    US Senate Judiciary Committee Chairman Richard Durbin
        224 Dirksen Senate Office Building Washington, DC 20510

  5.    Attorney General State of Florida
        Attorney General Ashley Moody Office of the Attorney General
        State of Florida
        PL-01,
        The Capitol Tallahassee, FL 32399-1050


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                    MEMO DEFAULT WRIT OF SCIRE FASCIAS
      Case 3:10-cr-00222-RNC         Document 851         Filed 11/04/24     Page 11 of 11


UNDER GOD,

                                 CASE#_3 :1 0-cr-00222



 6.    Attorney General State of Connecticut Attorney General William Tong
       Office of the Attorney General
       165 Capitol Avenue
        Hartford, CT 06 l 06

 7.    The Connecticut General Assembly Grand Jury
        Legislative Office Building
       300 Capitol Avenue RM 5300
       Hartford, CT 06106

 8.    Governor Neel Lamont State Capitol
       210 Capitol Avenue
       Hartford, CT 06 l 03

 9.    Sumter County Florida Sheriff William Farmer
       C/O Under Sheriff Patrick Breeden
       7361 Powell Rel.
       Wilclwoocl, FL 34785




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                   MEMO DEFAULT WRIT OF SCIRE FASCIAS
